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 8                               UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10                                               *****
11   UNITED STATES OF AMERICA,                    )      Case No CR-08-0212 OWW
                                                  )
12                                                )
                                                  )      APPLICATION TO EXTEND TIME
13                         Plaintiffs,            )      FOR FILING OF MOTION FOR NEW
                                                  )      TRIAL AND FOR DIRECTED
14   vs.                                          )      VERDICT OF ACQUITTAL AND TO
                                                  )      CONTINUE SENTENCING AND
15   SUKHRAJ DHALIWAL                             )      ORDER THEREON
                                                  )
16                         Defendant.             )
17
18   TO THE HONORABLE OLIVER W. WANGER, JUDGE OF THE ABOVE-ENTITLED
     COURT, TO LAWRENCE G. BROWN , UNITED STATES ATTORNEY, AND TO KAREN
19   A. ESCOBAR AND DEANNA L. MARTINEZ, ASSISTANT U.S. ATTORNEYS:
20          NOW COMES Defendant SUKHRAJ DHALIWAL, and respectfully requests an order
21   from this Court extending the time for the filing of Rule 29 and Rule 33 Motions for Judgment of
22   Acquittal and New trial from the current due date of October 19, 2009 to December 4, 2009 or
23   such other time as the Court deems appropriate. Defendant’s sentencing is currently set for
24   December 14, 2009. Defendant requests that his sentencing be continued to February 15, 2010,
25   or such other time as the Court shall deem appropriate.
26          Good cause exists for the granting of said motion in that former counsel Carl Faller was
27   relieved as counsel by order of the court and current counsel for Mr. Dhaliwal was appointed on
28   September 29, 2009. On October 2, 2009 defense counsel applied for investigator services to
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 1   interview potential witnesses who did not testify at Mr. Dhaliwal’s trial. Counsel did not receive
 2   Mr. Faller’s file on the case until October 6, 2009. No pre-trial motions were provided to the
 3   defense, either made by co-defendants or made or joined in by Mr. Dhaliwal. Defendant will
 4   apparently have to copy those off of the Court’s internet docket. All trial testimony was ordered
 5   by co-defendant’s attorney Mario DiSalvo on August 30, 2009. As of this date only partial
 6   transcripts for day 8 and day 2 are available. We are informed that the transcripts will be done
 7   tomorrow. Defense counsel for Mr. Dhaliwal is in the process of ordering the Court’s
 8   proceedings during which Mr. Faller was relieved as counsel. It is necessary for defense counsel
 9   to obtain a copy of the trial transcript in order to identify all issues and arguments that may be
10   relevant to these motions.
11            Based on the above, it is hereby requested that the deadline for filing a motion for new
12   trial and for setting aside the verdict of the jury be extended to December 14, 2009. It is further
13   requested that the sentencing in this matter be continued from December 14, 2009 to February
14   15, 2009 or such other date as the court may deem appropriate.
15
16   Dated:     October 8, 2009                                    Respectfully submitted,
17                                                                  /s/ W. Scott Quinlan
                                                                   W. Scott Quinlan, Attorney for
18                                                                 Defendant, SUKHRAJ DHALIWAL
19
20   ORDER:
21            Based on the above, and good cause appearing therefore, it is hereby ordered that the
22   deadline for filing a motion for new trial and to set aside the guilty verdict by Defendant Sukhraj
23   Dhaliwal is extended to December 14, 2009. The sentencing of Defendant Sukhraj Dhaliwal is
24   extended to February 15, 2010.
25   IT IS SO ORDERED.
26   Dated: October 13, 2009                            /s/ Oliver W. Wanger
     emm0d6                                        UNITED STATES DISTRICT JUDGE
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